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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 20-CR-20001-COOKE


  UNITED STATES OF AMERICA

  vs.

  MICHAEL SEQUEIRA,
              Defendant.
  __________________________________/


                             GOVERNMENT=S RESPONSE TO
                           THE STANDING DISCOVERY ORDER

         The United States hereby files this response to the Standing Discovery Order.          This

  response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16, and is

  numbered to correspond with Local Rule 88.10.

         A.     1.     The government is providing written statements made by the defendant(s)
                       online.

                2.     A report with any post-arrest statements of the defendant is attached.

                3.     No defendant testified before the Grand Jury.

                4.     The NCIC record of the defendant will be sent in a supplemental discovery
                       response.

                5.     The attachments to this discovery response are not necessarily copies of all
                       the books, papers, documents, etc., that the government may intend to
                       introduce at trial.

                6.     Some of the laboratory reports from this case are attached. Additional
                       laboratory analysis of the substances seized in connection with this case will
                       be made available to you upon receipt by this office.

         B.            DEMAND FOR RECIPROCAL DISCOVERY: The United States requests
                       the disclosure and production of materials enumerated as items 1, 2 and 3
                       of Section B of the Standing Discovery Order. This request is also made
                       pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure.
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       C.          The government will disclose any information or material which may be
                   favorable on the issues of guilt or punishment within the scope of Brady v.
                   Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97
                   (1976).

       D.          The government will disclose any payments, promises of immunity,
                   leniency, preferential treatment, or other inducements made to prospective
                   government witnesses, within the scope of Giglio v. United States, 405 U.S.
                   150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

       E.          The government will disclose any prior convictions of any alleged co-
                   conspirator, accomplice or informant who will testify for the government at
                   trial.

       F.          No defendant was identified in a lineup, show up, photo spread or similar
                   identification proceedings.

       G.          The government has advised its agents and officers involved in this case to
                   preserve all rough notes.

       H.          The government will timely advise the defendant of its intent, if any, to
                   introduce during its case in chief proof of evidence pursuant to F.R.E.
                   404(b). You are hereby on notice that all evidence made available to you
                   for inspection, as well as all statements disclosed herein or in any future
                   discovery letter, may be offered in the trial of this cause, under F.R.E.
                   404(b) or otherwise (including the inextricably-intertwined doctrine).

       I.          The defendant is not an aggrieved person, as defined in Title 18, United
                   States Code, Section 2510(11), of any electronic surveillance.

       J.          The government has ordered transcribed the Grand Jury testimony of all
                   witnesses who will testify for the government at the trial of this cause.

       K.          The government will, upon defense request, deliver to any laboratory
                   presently registered with the Attorney General in compliance with 21
                   U.S.C. ' 822 and ' 823 and 21 C.F.R. 1301.13, a sufficient representative
                   sample of any alleged contraband which is the subject of this indictment to
                   allow independent chemical analysis of such sample.

                   If there is no response within ten (10) days from the date of the Certificate
                   of Service attached hereto, the bulk of the contraband/narcotics will be
                   destroyed. As usual, random samples will be set aside to be used as
                   evidence at trial.


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         L.             The government does not know of any automobile, vessel, or aircraft
                        allegedly used in the commission of this offense that is in the government's
                        possession. However, there were vehicles seized by DEA that are subject to
                        administrative forfeiture.

         M.             The government is not aware of any latent fingerprints or palm prints which
                        have been identified by a government expert as those of the defendant.

         N.             To date, the government has not received a request for disclosure of the
                        subject-matter of expert testimony that the government reasonably expects
                        to offer at trial.

         O.             The government will make every possible effort in good faith to stipulate to
                        all facts or points of law the truth and existence of which is not contested
                        and the early resolution of which will expedite trial. These stipulations
                        will be discussed at the discovery conference.

         P.             At the discovery conference scheduled in Section A.5, above, the
                        government will seek written stipulations to agreed facts in this case, to be
                        signed by the defendant and defense counsel.

         The government is aware of its continuing duty to disclose such newly discovered
  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules
  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

         In addition to the request made above by the government pursuant to both Section B of the
  Standing Discovery Order and Rule 16(b) of the Federal Rules of Criminal Procedure, in
  accordance with Rule 12.1 of the Federal Rules of Criminal Procedure, the government hereby
  demands Notice of Alibi defense; the approximate time, date, and place of the offense was:

                        See Indictment




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         The attachments to this response are contained on a flash drive with Bates Numbers 1-112.
  Please contact the undersigned Assistant United States Attorney if any pages are missing.

                                                Respectfully submitted,
                                                JUAN ANTONIO GONZALEZ
                                                UNITED STATES ATTORNEY

                                          By: /s/Monique Botero
                                              MONIQUE BOTERO
                                              Assistant United States Attorney
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was delivered by

  United States mail this ___ day of April, 2022, to:

         Christopher DeCoste
         40 NW 3rd St. PH 1
         Miami, FL 33128

                                                        /s/Monique Botero
                                                        MONIQUE BOTERO
                                                        Assistant United States Attorney




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